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                 4                                   UNITED STATES DISTRICT COURT
                 5                                          DISTRICT OF NEVADA
                 6                                                      ***
                 7       UNITED STATES OF AMERICA,                              Case No. 2:12-CR-113 JCM (VCF)
                 8                                              Plaintiff(s),                      ORDER
                 9              v.
               10        PAUL CITELLI, et al.,
               11                                             Defendant(s).
               12
               13              Presently before the court is the matter of United States of America v. Citelli, case number
               14       2:12-cr-00113-JCM-VCF-5. On November 21, 2017, defendant Paul Citelli filed a motion for
               15       early termination of supervised release. (ECF No. 392).
               16              Briefing shall proceed as follows: the government has twenty-one (21) days from the date
               17       of this order to file a response. Thereafter, defendant has fourteen (14) days to file a reply.
               18              Accordingly,
               19              IT IS HEREBY ORDERED that the government shall file a response to defendant’s motion
               20       for early termination of supervised release (ECF No. 392) no later than twenty-one (21) days from
               21       the date of this order. Defendant shall file a reply within fourteen (14) days thereafter.
               22              DATED November 30, 2017.
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               24                                                      UNITED STATES DISTRICT JUDGE

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James C. Mahan
U.S. District Judge
